Case 16-17404-elf       Doc 106      Filed 08/07/19 Entered 08/07/19 08:18:03              Desc Main
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  IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN
                              DISTRICT OF P:ENNSYJL:VANIA

 In re: DAVIDE. MOORE, JR.,                                       CH;APTER 13
          Debtor
                                                            lRA.NKJllUPTCY NO. 16-17404



  ORDER GRANTING DEBTOR'S AMENUEJ[) '.\/1011.0N FOR PERMISSION TO SELL
                                            REAli�SJrnJrE


         AND NOW, this 7th day of August, 2019, it is hereby ORDERED that the Debtor


 is granted permission to sell his property at 818 W'est 9th Street, Wilmington, DE. 18901 ("the


 Property"), to Wilmington Neighborhood Conservancy Land Bank Corporation for $35,000


 pursuant to the terms of the: Ag;rnemients of Sale attached to the Amended


 Motion as Exhibit "A," with the proceeds to be distributed to all taxes and other unavoidable


 liens of against the Property, and a.ny additional,   ordinary and reasonable settlement costs chargeable to

 the Debtor, with any remainder payable to the Chapter 13 Trustee, William C. Miller. The title


 clerk shall email a completed HUD-1 or settlement 5'heet firom the closing directly to the Chapter


 13 Trusee, William C. Miller, Esq., and the Debtor's counsel David A. Scholl, at


 judrreschoHid),gnrniLcom, immediately upon the clo:;.e of the settlement, and the Trustee shall


 promptly notify the title company of his approval or objections to the sums to be disbursed.


 Upon the trustee's approval, the title clerk shall send th1e disbursement check to the Trustee by


 traceable mail.




                                            ______________________________________
                                             ERIC L. FRANK
                                             U.S. BANKRUPTCY JUDGE
